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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

________________________________________________________________________
United States of America,
                                                    Criminal No. 99-86 (3) (RHK/AJB)
                      Plaintiff,
                                                              ORDER
v.

Christopher St. Aubyn Headley,

                 Defendant.
________________________________________________________________________


      Defendant has moved for a sentence reduction based on the retroactive crack

cocaine guidelines amendment. He is now serving a 120 month sentence based on a plea

of guilty to a drug-trafficking conspiracy offense. A ten-year mandatory minimum

sentence was required by 21 U.S.C. § 841(b)(1)(A) as imposed by the Court. His

guidelines range has not changed due to the effect of the mandatory minimum sentence.

See United States v. Johnson, 517 F.3d 1020, 1024 (8th Cir. 2008); U.S. Sentencing

Guidelines Manual § 5G1.1(b) (2004).

      Based on the foregoing, Defendant’s Application for Sentence Adjustment (Doc.

No. 162) is DENIED.

Dated: July 2, 2008                         s/Richard H. Kyle
                                            RICHARD H. KYLE
                                            United States District Judge
